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21
                                UNITED STATES BANKRUPTCY COURT
22

23                                  FOR THE DISTRICT OF ARIZONA

24    In Re:                                             Chapter 11
25
      FLORENCE HOSPITAL AT                               Case No.: 4:13-bk-03201-BMW
26    ANTHEM, LLC,
                                                         RESPONSE TO DEBTOR’S HEARING
27             Debtor.                                   BRIEF [D.E. 1575]
28


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 1               Blue Wolf Capital Partners, III, L.P. (“Blue Wolf”) hereby files this response (the “Response”)

 2    to the Reorganized Debtor’s hearing brief (the “Debtor’s Brief”) [Dkt. No. 1575] and respectfully states

 3    as follows:

 4                                                           Introduction1

 5               Subject to the Motion to Strike being contemporaneously filed herewith, Blue Wolf files this

 6    Response to address the arguments in the Debtor’s Brief regarding the application economic loss

 7    doctrine and the contributory negligence. Blue Wolf has detailed the Debtor’s fraudulent and or

 8    negligent conduct in its own hearing memorandum (the “Blue Wolf Brief”) [Dkt. No. 1574] and

 9    incorporates all arguments contained therein by reference.

10               As explained in the Motion to Strike, the Court should not consider the new arguments the

11    Debtor has raised in the Pre-Trial Statement, and now the Debtor’s Brief, with inadequate notice,

12    resulting in “trial by ambush.”2 Subject to these objections, Blue Wolf files this Response to protect its

13    rights without waiving its objections.

14                                                  Arguments and Authorities

15    1.         The Economic Loss Doctrine Does Not Apply to Blue Wolf’s Claims.
16               In order for the economic loss doctrine to apply, an enforceable contract must exist that would
17
      preclude tort claims that would be duplicative of a breach of contract action. Despite arguing that this
18
      doctrine applies, the Debtor goes on to defeat this argument in the Debtor’s Brief, contending that Blue
19
      Wolf does not actually have any breach of contract claims. See Debtor’s Brief, at pp. 18–21.
20

21               The economic loss doctrine does not apply because Blue Wolf is not seeking remedies under

22    contract law, either contract damages, or specific performance of a contract. The economic loss doctrine

23    presents the issue of whether a court should limit a “contracting party” to its contract remedies for
24
      purely economic loss. Flagstaff Affordable Hous. Ltd. P’ship v. Design Alliance, Inc., 223 Ariz. 320,
25

26

27    1
           All otherwise undefined terms have the meanings set forth in the Joint Pre-Trial Statement (the “Pre-Trial Statement” or
           “PTS”).
28
      2
          See Blue Wolf Brief, at pp. 23–25.
                                                                     2
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 1    323, 223 P.3d 664, 664 (2010).3
 2               The Debtor has basically admitted that the economic loss rule cannot apply because Blue Wolf
 3
      was not a party to an enforceable contract. The Debtor asserts in its section of the Pre-Trial Statement
 4
      that there was no enforceable contract because, “the APA was not binding on the Debtor until it was
 5
      approved by the Bankruptcy Court.” PTS, at p. 19. Accordingly, there is no contract susceptible of
 6

 7    maintaining an action for breach of contract of or specific performance in this matter. As such, it cannot

 8    be said that Blue Wolf is “a contracting party [who] should be limited to its contract remedies for purely

 9    economic loss.” SeeRich v. BAC Home Loans Servicing, LP, 2013 U.S. Dist. LEXIS 189311 (D. Ariz.
10    July 10, 2013) (citing Flagstaff Affordable Hous. Ltd. P’ship v. Design Alliance, Inc., 223 Ariz. 320,
11
      223 P.3d 664, 667 (Ariz. 2010); and Sullivan v. Pulte Home Corp., 231 Ariz. 53, 290 P.3d 446, 452
12
      (Ariz. Ct. App. 2012) (“[T]he [economic loss doctrine] does not apply to bar tort claims for purely
13
      economic losses when there is no contract between the parties.”). Blue Wolf is not a contracting party
14

15    seeking breach of contract damages.

16               Instead, Blue Wolf is seeking tort damages because the losses that it has incurred were not

17    reasonably foreseeable at the time that it agreed to purchase the Debtor’s assets. The economic loss
18
      3
          The economic loss doctrine is “a common law rule limiting a contracting party to contractual remedies for the recovery of
19         economic losses unaccompanied by physical injury to persons or other property” than such property addressed in the
           contract. Flagstaff Affordable Hous. Ltd. P’ship v. Design Alliance, Inc., 223 Ariz. 320, 323, 223 P.3d 664, 667 (2010).
20         “The principal function of the economic loss doctrine ... is to encourage private ordering of economic relationships and to
           uphold the expectations of the parties by limiting a plaintiff to contractual remedies for loss of the benefit of the bargain.”
21         Flagstaff, 223 P.3d at 671. Id. at 327, 223 P.3d at 671 (citation omitted). In such circumstances, when there is no contract
           between the parties, rather than rely on the economic loss doctrine, “courts should instead focus on whether the applicable
22         substantive law allows liability in the particular context.” Id. at 327, 223 P.3d at 671. Economic loss ‘refers to pecuniary
           or commercial damage[.]’” Cooley v. Davison, 2017 U.S. Dist. LEXIS 99851, 9-11 (D. Ariz. June 28, 2017) (quoting
23         Flagstaff 223 P.3d at 667). As recently explained by the District Court:
24               [A]pplication of the doctrine to various tort claims requires a context-specific analysis that must take into
                 account the policies behind contract and tort law. While tort law seeks to promote safety and spread the
25               costs of accidents, contract law “seeks to preserve freedom of contract and to promote the free flow of
                 commerce.” Thus, if “common law contract remedies provide an adequate remedy because they allow
26               recovery of the costs of remedying the defects ... and other damages reasonably foreseeable to the parties
                 upon entering the contract[,]” there is no strong policy reason to also provide a tort remedy. Greyhound
27               Lines Inc. v. Viad Corp., No. CV-15-01820-PHX-DGC, 2016 U.S. Dist. LEXIS 160960, 2016 WL
                 6833938, at *7 (D. Ariz. Nov. 11, 2016) (quoting Flagstaff, 223 P.3d at 669).
28
      Cooley v. Davison, 2017 U.S. Dist. LEXIS 99851, 9-11 (D. Ariz. June 28, 2017).
                                                                        3
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 1    doctrine is applicable only when contract remedies, “provide an adequate remedy because they allow
 2    recovery of the costs of remedying the defects ... and other damages reasonably foreseeable to the
 3
      parties upon entering the contract.” Flagstaff, 223 P.3d at 669 (emphasis added).4
 4
                Here, the negligent and/or fraudulent misrepresentations of the Debtor were not foreseeable risks
 5
      that Blue Wolf could have, let alone did, factor in upon execution of the Blue Wolf APA. As recently
 6

 7    explained by the District Court in Cooley, contract law does not, and cannot, provide an adequate

 8    remedy for misrepresentations in the formation of a contract. Cooley v. Davison, 2017 U.S. Dist.

 9    LEXIS 99851, at *9-11 (D. Ariz. June 28, 2017) (“the Court is not convinced that contract law provides
10    an adequate remedy for Cooley’s alleged damages. For example, Cooley alleges that Eileen and the
11
      Trust made misrepresentations …, but the escrow instructions and promissory note say nothing about
12
      these matters.”); see also Ares Funding, L.L.C. v. MA Maricopa, L.L.C., 602 F.Supp.2d 1144, 1149 (D.
13
      Ariz. 2009) (“The economic loss doctrine … is not applicable to the tort of fraud in the inducement in
14

15    Arizona.”); TSYS Acquiring Solutions, LLC v. Electronic Payment Systems, LLC, 2010 U.S. Dist.

16    LEXIS 104259, *12-15 (D. Ariz. 2010) (holding that the economic loss doctrine did not bar the

17    plaintiff’s consumer fraud claim because the fraud allegedly caused the party to enter the contract). This
18
      is so because “[f]raudulent misrepresentation . . . undermines the ability of parties to negotiate freely,
19
      and therefore negates the presumption that an equitable negotiation has occurred.” KD & KD
20
      Enterprises, LLC v. Touch Automation, LLC, 2006 WL 3808257, *2 (D.Ariz., Dec. 27, 2006). In such
21
      circumstances, “[i]t is unreasonable to restrict a party to contractual limitations of liability when
22

23    fraudulent representations resulted in an unequal, unfair bargaining process.” Id.

24              The Debtor relies on Salt River Project Agr. Imp. And Power Dist. v. Westinghouse Electrice
25    Corp., 143 Ariz. 368, 694 P.2d 198 (1984) and Apollo Group, Inc. v. Avnet, Inc., 58 F.3d 477 (9th Cir.
26    4
          As a stalking horse bidder and potential purchaser of substantially all the assets of the Debtor, there are certain risks that
          were foreseeable to Blue Wolf when executing the APA. For instance, if the auction had been conducted, Blue Wolf could
27        have been outbid by another purchaser. In fact, the Bid Procedures Order provided certain protections in those
          circumstances. See Bid Procedures, pg. 4-5 (“a Cost Reimbursement of $175,000 will be payable to [Blue Wolf] on the
28        conditions that the Stalking Horse Bidder executes an APA and Blue Wolf, as the Stalking Horse Bidder, is not the
          Prevailing Bidder at the Auction due to an overbid.”) (emphasis added).
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 1    1995) as authority for the application of the economic loss doctrine in this case. See Debtor’s Brief, at
 2    p. 11. Both cases, however, are highly distinguishable from the case before the Court. In both
 3
      Westinghouse and Apollo Group, the respective plaintiffs were parties that had purchased goods under a
 4
      standard purchase and sale agreement governed by the Arizona UCC. See 694 P.2d at 202; 58 F.3d at
 5
      480. After the sale was completed in each case and the respective plaintiffs had received their goods
 6

 7    from the defendants, the plaintiffs then sought damages to recover from losses caused by defective or

 8    non-conforming goods. See 694 P.2d at 204; 58 F.3d at 478-79. Both plaintiffs were truly seeking the

 9    “benefit of the bargain” damages governed by the economic loss doctrine, not reliance damages arising
10    based on fraud or negligent misrepresentation. They wished to be made whole and provided what they
11
      paid for under the contract. These cases are simply inapplicable to the case before the Court.5
12
                 As demonstrated from the Blue Wolf Administrative Claim, Blue Wolf not seeking expectancy
13
      damages in this case. Accordingly, Blue Wolf is not seeking the pecuniary, commercial or consequential
14

15    damages that invoke the economic loss doctrine. Flagstaff, 223 P.3d at 667 (citing Salt River Project

16    Agric. Improvement & Power Dist. v. Westinghouse Elec. Corp., 143 Ariz. 368, 379-80, 694 P.2d 198,

17    209-10 (1984)). (Economic loss “refers to pecuniary or commercial damage, including any decreased
18
      value or repair costs for a product or property that it itself the subject of a contract between the plaintiff
19
      and defendant, and consequential damages such as lost profits.”). Instead, Blue Wolf is seeking reliance
20
      damages for the “hard costs” it expended in its diligence which occurred throughout the course of the
21
      negotiations and was caused and induced by debtor’s tortious conduct. Consequently, there is no
22

23    applicability of the economic loss doctrine or the cases the Debtor relies on in this matter. Blue Wolf

24    therefore submits that the Economic Loss Doctrine may not serve as a bar to the recovery of its tort
25
      5
          For comparison, to put Blue Wolf in a similar situation to the plaintiffs in these cases, Blue Wolf would have had to
26         complete the purchase of the Debtors, only to find the hospital was not as represented in the Blue Wolf APA (for instance,
           it was lacking the number of beds represented). In that case, if Blue Wolf was seeking damages to compensate it for such
27         difference, then the economic loss doctrine would serve to prevent Blue Wolf from recovering tort based damages in
           addition to its contract based damages. Indeed, if Blue Wolf were seeking contract damages in this contested matter, Blue
28         Wolf would be seeking millions of dollars in expectancy damages based upon the returns it expected to receive from its
           investment in purchasing the Debtor’s assets.
                                                                     5
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 1    damages caused by the Debtor’s misrepresentations.
 2    2.     Blue Wolf Can Prove the Elements of its Tort Claims.
 3           The Debtor spends a significant portion of the Debtor’s Brief arguing that Blue Wolf cannot
 4
      prove the elements of its fraudulent and negligent misrepresentation claims. See Debtor’s Brief, at pp.
 5
      13–18. Blue Wolf has explained why the Debtor is liable under those legal theories in the Blue Wolf
 6
      Brief, and rather than rehash those arguments here, will incorporate them by reference. See Blue Wolf
 7
      Brief, at pp. 7–20.
 8

 9    3.     Blue Wolf was not Contributorily Negligent to the Tort Damages Inflicted upon it by the
             Debtor.
10
             Among the Debtor’s meritless arguments is the contention that Blue Wolf was contributorily
11
      negligent because it had a duty to investigate the Debtor’s authority to enter into the relevant
12
      agreements. But Blue Wolf had no such duty because it could reasonably rely on the Debtor and its
13

14    counsel, who are officers of the Court, to be honest and forthcoming regarding such authority.

15           The Debtors seek to have Blue Wolf found contributorily negligent for not discovering the
16    corporate authority issue on their own and instead relying on the Debtor’s statements to both Blue Wolf
17
      and the Court regarding this issue. See Debtor’s Brief, at pp. 14-15. This is not, and cannot be, the
18
      standard of care in a court approved sale of the debtor’s assets. Blue Wolf will prove that it reasonably
19
      relied on the representations of the Debtor’s representatives as fiduciaries of the Debtor’s estate and
20

21    officers of the court. To contend that Blue Wolf should doubt what the Debtor stated to the Court as

22    truth would be to throw the entire bankruptcy process on its head. Courts and parties in interest rely on

23    the truthfulness of pleadings and representations to the Court as the foundations of the decisions they
24    make in working towards a resolution in a bankruptcy case. If Blue Wolf and the Court could not
25
      reasonably rely on what the Debtor stated in its pleadings and representations in open court, the
26
      Debtor’s bankruptcy case would have taken a very different course.
27
             In order to maintain that Blue Wolf was at fault, the Debtor must establish “an actionable breach
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 1    of legal duty, act or omission proximately causing or contributing to injury or damages sustained by a
 2    person seeking recovery, including negligence in all of its degrees, contributory negligence, assumption
 3
      of risk, strict liability, breach of express or implied warranty of a product, product liability and misuse,
 4
      modification or abuse of a product.” A.R.S. 12-506 (F)(2).
 5
                 Under Arizona tort law,6 “[a] person may rightfully rely upon a misrepresentation of fact even
 6

 7    when he may have discovered the falsity of the statement by a simple investigation.” Dawson v.

 8    Withycombe, 216 Ariz. 84, 98, 163 P.3d 1034, 1048 (Ct. App. 2007) (citing Carrel v. Lux, 101 Ariz.

 9    430, 434, 420 P.2d 564, 568 (1966)).                    “Moreover, once a party requests assurances, the alleged
10    tortfeasor cannot misrepresent such assurances and then contend the alleged victim had no right to rely
11
      on such representations.” Id. The only misrepresentations that a party may not rely on is one that is
12
      obviously false. Law v. Sidney, 47 Ariz. 1, 11, 53 P.2d 64, 68 (1936). As such, to be contributorily
13
      negligent under Arizona law, Blue Wolf would have had to have actual knowledge of the authority
14

15    issues that derailed the sale process during the period its damages occurred. It did not. In addition, when,

16    after Dr. John’s made his Statement of Position, Blue Wolf asked for and was given assurances

17    regarding the authority issue, the Debtor cannot then reverse course and assert Blue Wolf is
18
      contributorily negligent for relying on those assurances.
19

20
      6
          Though applied in difference circumstances under 11 U.S.C. § 523, Arizona’s reasonable reliance standard is substantially
21         similar to that under federal bankruptcy law, which incorporates the common law of torts. Field v. Mans, 516 U.S. 59, 69
           (1995). Under bankruptcy law, the reasonable reliance standard generally does not entail a duty to investigate. Gould v.
22         Wisniewski (In re Wisniewski), Nos. 2:12-bk-07266-EWH, 2:12-ap-01213-EWH, 2014 Bankr. LEXIS 2024, at *26 (U.S.
           Bankr. D. Ariz. May 5, 2014) (citing Field, 516 U.S. at 70). The Ninth Circuit has stated that, “one who receives a
23         fraudulent misrepresentation of a fact ‘is justified in relying upon its truth, although he might have ascertained the falsity
           of the representation had he made an investigation.’” In re Kirsh, 973 F.2d 1454, 1458 (9th Cir. 1992). This is especially
24         true in the case of non-disclosure of material facts, where, “it is impossible to demonstrate reliance, since to do so requires
           proof of a speculative state of facts, i.e. how one would have behaved if omitted material information had been disclosed.”
25         In re Apte, 180 B.R. 223, 229 (B.A.P. 9th Cir. 1995) (internal quotations omitted), aff'd, 96 F.3d 1319 (9th Cir. 1996).
           Because the representations relied on can be the very cause preventing further inquiry into a statement’s falsity, justifiable
26         reliance ordinarily “does not require the party to test the truth of such representations where they are within the knowledge
           of the party making them or where they are made to induce the other party to refrain from seeking further information.”
27         Yazdianpour v. Safeblood Techs., Inc., 779 F.3d 530, 536 (8th Cir. 2015) (citing Lancaster v. Schilling Motors, Inc., 299
           Ark. 365, 772 S.W.2d 349, 351 (Ark. 1989)). As the Bankruptcy Appellate Panel of the Ninth Circuit summed up,
28         “negligence in failing to discover an intentional misrepresentation is no defense.” In re Apte, 180 B.R. at 229.

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 1             Blue Wolf was induced by the Debtor’s fraudulent and/or negligent misrepresentations and non-
 2    disclosures into conducting the diligence for and the negotiating of the three key agreements referenced
 3
      in the Blue Wolf Brief in an unauthorized sale process. In the absence of such disclosures by the Debtor,
 4
      Blue Wolf had no source of information on which to rely except for the representations of the Debtor’s
 5
      representatives to Blue Wolf and the Court during the course of the sale process. The fact that the Court
 6

 7    found itself in the same position, without knowledge or indication of the Debtor’s lack of corporate

 8    authority, speaks volumes about the justifiable reliance exercised by Blue Wolf in the circumstances.

 9    Blue Wolf did not contribute to the Debtor’s misrepresentations, nor to the fraud the Debtor committed
10    upon Blue Wolf, nor to its authority issues. Since such contributions to its tort damages are entirely
11
      lacking, Blue Wolf cannot be held contributorily negligent.
12
      4.       Awarding Attorneys’ Fees is Appropriate.
13
               Blue Wolf has addressed the Debtor’s argument with regard to attorneys’ fees is set forth in the
14

15    Blue Wolf Brief, and those arguments are incorporated herein by reference. See Blue Wolf Brief, at pp.

16    20–23.
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 1                                      CERTIFICATE OF SERVICE
 2    The foregoing document was e-filed on September 28, 2017 with the U.S. Bankruptcy Court and copies
      served via e-mail the same day (or served via U.S. First-Class Mail, as indicated hereon.)
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                                            odavis@maypotenza.com
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23      bkdocket@biz.law                    DDanneman@lrrc.com
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24
      AND SENT BY FIRST-CLASS U.S. MAIL:
25
        Medical Properties Trust, Inc.      Stryker Endoscopy                  Stryker Orthopeadics
26      Robert M. Moss                      c/o Lori L. Purkey                 c/o Lori L. Purkey
        1000 Urban Center Drive, Ste. 501   Purkey & Associates, PLC           Purkey & Associates, PLC
27      Birmingham, AL 35242                5050 Cascade Road, SE, Ste. A      5050 Cascade Road, SE, Ste. A
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        P.O. Box 729                        512 W. Claremont Ave.
        Florence, AZ 85132                  Phoenix, AZ 85013
                                                           11
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